                              UNITED STATES DISTRICT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )      Case No. 21-cr-00303-ABJ-2
                                             )
DEBORAH LEE,                                 )
                                             )
                                             )
                       Defendant             )
                                             )




                                   NOTICE OF APPERANCE

To: The Clerk of Court and all parties of record

       Attorney William L. Shipley hereby makes this Notice of Appearance on behalf

of: Defendant Deborah Lee in this matter.



Dated: July 20, 2022                         Respectfully submitted,

                                             /s/ William L. Shipley
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